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Attorneys for William Callewaert and Malcolm Cohen
in their capacity as Joint Administrators and Foreign Representatives
for the Debtor BSG Resources Limited (in administration)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

  In re:                                                  Chapter 15

  BSG RESOURCES LIMITED (in administration),              Case No. 19-11845 (SHL)

  Debtor in a Foreign Proceeding.


              CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER

           This Stipulation (the “Stipulation” or “Protective Order”) is entered into by and between

the undersigned counsel, acting for and on behalf of their respective clients: (i) William Callewaert

and Malcolm Cohen appointed as joint administrators (together, the “Foreign Representatives”

or “Joint Administrators”) for BSG Resources Limited (“BSG” or “Debtor”), the debtor in the

above-captioned chapter 15 case (this “Chapter 15 Proceeding”); and (ii) Vale, S.A. (“Vale” and

together with Debtor and the Foreign Representatives, the “Parties”).

           WHEREAS, on June 3, 2019, the Foreign Representatives, on behalf of the Debtor, filed a

voluntary petition for recognition of a foreign main proceeding and related relief under chapter 15
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of title 11 of the United States Code (the “Bankruptcy Code”), in the United States Bankruptcy

Court for the Southern District of New York (the “Bankruptcy Court”) (ECF No. 1);

         WHEREAS, on June 3, 2019, the Foreign Representatives, on behalf of the Debtor, filed a

Verified Chapter 15 Petition for Recognition of Foreign Main Proceeding and Related Relief (ECF

No. 5) (the “Verified Petition for Recognition”) which seeks, among other relief, the imposition

of the protections of section 362 of the Bankruptcy Code upon the recognition of the Debtor’s

foreign insolvency proceeding (the “Guernsey Administration”) as a “foreign main proceeding”;

         WHEREAS, the Parties have served or will serve each other with, or have received from

the other Parties, documents, depositions, deposition exhibits, interrogatories and responses,

admissions, and any other information produced, given, or exchanged by and among the Parties

and any non-parties to each of the respective above-captioned actions (“Discovery Materials”);

         WHEREAS, the Parties desire to expedite the flow of discovery material, to facilitate the

prompt resolution of disputes over confidentiality of discovery materials, to adequately protect

information the Parties are entitled to keep confidential, to ensure that only materials the parties

are entitled to keep confidential are subject to such treatment, and to ensure that the Parties are

permitted reasonably necessary uses of such materials in preparation for and in the conduct of trial,

pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, made applicable to these

proceedings by Rule 7026 of the Federal Rules of Bankruptcy Procedure; and

         WHEREAS, the Parties have entered into this Stipulation and agreed to be bound by its

terms;

         NOW THEREFORE, IT IS HEREBY STIPULATED, AGREED, AND IT IS

ORDERED THAT:




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                                         DEFINITIONS

                “Party”: BSG, Vale or the Joint Administrators, including all of their respective

officers, directors, employees, consultants, retained experts and consultants, and outside counsel

(and their support staff).

                “Discovery Material”: All information, documents, items, and things produced,

served, or otherwise provided in this action (whether paper, electronic, tangible or otherwise) by

the parties or by non-parties.

                “Producing Party”: A Party or non-party that produces Discovery Material in this

action.

                “Receiving Party”: A Party that receives Discovery Material from a Producing

Party.

                “Designating Party”: A Party or non-party that designates Discovery Material as

“CONFIDENTIAL” or “OUTSIDE COUNSEL EYES ONLY.”

                “CONFIDENTIAL Material”: Discovery Material that the Designating Party

believes in good faith as of the date of production contains or constitutes: (i) non-public

information that is commercially sensitive, including, without limitation, research, business

development or financial analysis, confidential technical information and data, or trade secrets; or

(ii) information protected from disclosure under federal, state, or other applicable law, regulation,

or court order. Copies, abstracts, compilations, summaries, and extracts of Discovery Materials

designated as CONFIDENTIAL, as well as testimony that contains or recites such

CONFIDENTIAL Material, will also be treated as CONFIDENTIAL Material. CONFIDENTIAL

Material shall not include: (i) information that is publicly available in the same form in which it

was provided; (ii) information that was, is or becomes public knowledge, not in violation of this

Protective Order; (iii) information that is voluntarily de-designated by the Producing Party; (iv)


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information rightfully acquired from an independent source without restrictions as to use; or (v)

information that is at any time independently developed by a Party without use of or reliance upon

any Discovery Materials.

               “OUTSIDE COUNSEL EYES ONLY Material”: Discovery Material that the

Designating Party in good faith believes is not generally known to others and contains or

constitutes non-public information reasonably likely to cause undue harm to the reputation of, or

embarrassment to, any individual.     OUTSIDE COUNSEL EYES ONLY Material shall not

include: (i) information that is publicly available in the same form in which it was provided; (ii)

information that was, is or becomes public knowledge, not in violation of this Protective Order;

(iii) information that is voluntarily de-designated by the Producing Party; (iv) information

rightfully acquired from an independent source without restrictions as to use; or (v) information

that is at any time independently developed by a Party without use of or reliance upon any

Discovery Materials. The foregoing definition is without prejudice to the right of the Producing

Party to seek the Court’s approval to designate specific other documents as Outside Counsel Eyes

Only where it believes such treatment is necessary, in which case the Producing Party shall produce

any such document to counsel for the Receiving Party, and the Receiving Party shall treat the

document provisionally as Outside Counsel Eyes Only until the Court has had an opportunity to

rule on the application.

                “Designated      Material”:     Discovery     Material    that    is    designated

“CONFIDENTIAL” or “OUTSIDE COUNSEL EYES ONLY” and all copies, abstracts,

compilations, summaries, and extracts of such Discovery Material, as well as testimony that

contains or recites such material.




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               “Counsel of Record”: (i) Outside counsel who appear on the pleadings as counsel

for a Party and other counsel advising such parties in connection with the Chapter 15 Proceeding,

and (ii) partners, associates, and employees of such outside counsel to whom it is reasonably

necessary to disclose the information for this litigation, including supporting personnel employed

by the attorneys, such as paralegals, legal translators, legal secretaries, legal clerks, and shorthand

reporters. “Counsel of Record” does not include any person who is an employee, director, or

officer of a Party or a Party’s affiliates even if that person appears on the pleadings as counsel for

a Party.

               “Outside Consultant”: A person with specialized knowledge or experience in a

matter pertinent to the action who has been retained by a Party or its Counsel of Record to serve

as an expert witness or as a consultant in this action and who is not a current or anticipated: (i)

officer, director, or employee of a Party or of a Party’s competitor, or (ii) consultant involved in

product and/or process design or development for a Party or for a Party’s competitor.

               “Professional Vendors”: Persons or entities unaffiliated with a Party or a

competitor of a Party that provide litigation support services (e.g., photocopying, videotaping,

translating, preparing transcripts, exhibits, or demonstrations, or organizing or processing data)

and their employees and subcontractors. Professional Vendors do not include consultants who fall

within the definition of Outside Consultant.

                                               SCOPE

               Compliance with Applicable Rules Governing Confidentiality. This Protective

Order does not confer blanket protections on all disclosures or responses to discovery, and the

protection it affords from public disclosure and use extends only to the limited information or

items that are entitled to confidential treatment under applicable legal principles or as otherwise

defined herein as Designated Material. All claims of confidentiality will be dealt with strictly in


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accordance with the terms of this Protective Order, and no Party will refuse to produce any

Discovery Material solely on the grounds of confidentiality.

                           ACCESS TO DESIGNATED MATERIAL

               Access to CONFIDENTIAL Material. Only the following persons are permitted to

have access to CONFIDENTIAL Material:

               Current and former employees, officers, or directors of the Receiving Party to

               whom disclosure is reasonably necessary for the management, supervision, or

               oversight of this litigation and, only as to former employees, officers, and directors,

               those who have signed the “Agreement to Be Bound by Protective Order” attached

               as Exhibit A, provided that receipt of any CONFIDENTIAL Material by counsel

               to a Party shall not itself be deemed to be receipt of any CONFIDENTIAL Material

               by any employee, officer, director, or employee of such Party;

               persons who appear on the face of Designated Material or in the metadata

               associated with the Designated Material as an author, addressee, or recipient

               thereof, or any other person for which counsel to the Receiving Party has a good

               faith basis for believing that such person rightly acquired such information or

               received such document from an independent source without restrictions as to its

               use prior to its production in the Chapter 15 Proceeding;

               Counsel of Record;

               subject to paragraph 18(b) and only as expressly permitted therein, persons

               expected to be deponents, trial witnesses, and hearing witnesses in the Chapter 15

               Proceeding and counsel to such persons;

               expert witnesses or consultants who are employed or retained by the Receiving

               Party or its counsel in connection with the Chapter 15 Proceeding, and that have


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            signed the “Acknowledgement and Agreement to Be Bound by Protective Order,”

            attached as Exhibit A, provided that counsel, in good faith, requires their assistance

            in connection with such proceedings, and further provided that any report created

            by such expert or consultant relying on or incorporating Confidential Material in

            whole or in part shall be designated as Confidential Material by the Party

            responsible for its creation;

            the Bankruptcy Court and its personnel;

            court reporters;

            any mediator or arbitrator engaged or assigned to mediate this matter, and his or

            her staff who have signed the “Acknowledgment and Agreement to Be Bound by

            Protective Order” attached as Exhibit A;

            Professional Vendors to which disclosure is reasonably necessary for this litigation

            and a representative of which has signed the “Acknowledgment and Agreement to

            Be Bound by Protective Order” attached as Exhibit A; and

            any other person, with the express written consent of the Producing Party.

            Access to OUTSIDE COUNSEL EYES ONLY Material. Only the following are

permitted to have access to OUTSIDE COUNSEL EYES ONLY Material:

            Counsel of Record;

            Outside Consultants and experts that have signed the “Acknowledgement and

            Agreement to Be Bound by Protective Order,” attached as Exhibit A and where

            counsel, in good faith, requires their assistance in connection with the Chapter 15

            Proceeding, provided that any report created by such expert or consultant relying

            on or incorporating Outside Counsel Eyes Only Material in whole or in part shall




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              be designated as Outside Counsel Eyes Only Material by the Party responsible for

              its creation;

              the Bankruptcy Court and its personnel;

              court reporters;

               any mediator or arbitrator engaged or assigned to mediate this matter, and his or

              her staff who have signed the “Acknowledgment and Agreement to Be Bound by

              Protective Order” attached as Exhibit A;

              Professional Vendors to which disclosure is reasonably necessary for this litigation

              and a representative of which that has signed the “Acknowledgment and Agreement

              to Be Bound by Protective Order” attached as Exhibit A;

              Persons who appear on the face of the Designated Material as an author, addressee,

              or recipient thereof; and

              subject to paragraph 18(c) and only as expressly permitted therein, persons

              expected to be deponents, trial witnesses, and hearing witnesses in the Chapter 15

              Proceeding and counsel to such persons.

              Acknowledgments to Be Bound. Each person to whom Designated Material may

be disclosed and who is required to sign the “Acknowledgment and Agreement to Be Bound by

Protective Order” must do so prior to reviewing Designated Material. Counsel of Record for the

Receiving Party must retain each original executed document.

                              USE OF DESIGNATED MATERIAL

              Use of Designated Material by a Receiving Party. A Receiving Party is permitted

to use Designated Material only for purposes of this case and is prohibited from disclosing

Designated Material except in accordance with this Protective Order.




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              Use of Designated Material by a Producing Party. Nothing in this Protective Order

restricts a Producing Party’s or Designating Party’s use or disclosure of its own Designated

Material.

              Use of Designated Material at Depositions or by Witnesses.

              Except as otherwise provided in subparagraphs (b) and (c) below, no Party shall

              disclose CONFIDENTIAL or OUTSIDE COUNSEL EYES ONLY Materials to

              anyone not set forth in paragraphs 13 and/or 14, unless and until the Producing

              Party has agreed that the materials may be disclosed, or the Bankruptcy Court has

              so ruled.

              A Receiving Party may disclose CONFIDENTIAL Material to persons expected to

              be deponents, trial witnesses, or hearing witnesses in the Chapter 15 Proceeding,

              where such disclosure is reasonably necessary for the purposes of trial preparation,

              factual investigation, or discovery.

              A Receiving Party can examine (i) a deponent, trial witness, or hearing witness

              about Designated Material of which the witness had prior knowledge, or that a

              Receiving Party believes in good faith may be relevant to such witness’s testimony

              and (ii) directors, officers, employees, or designated Rule 30(b)(6) witnesses of a

              Producing Party about Designated Material.        If a Receiving Party desires to

              examine a witness concerning Designated Material in a manner which is not

              permitted by the preceding sentence, and if the Parties cannot resolve the matter

              consensually, the Party seeking to prevent disclosure to the witness shall make a

              telephonic application to the Bankruptcy Court, and the Parties shall not disclose

              the Designated Materials until the Bankruptcy Court has ruled on the matter.




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               Except as set forth herein, no Party shall disclose OUTSIDE COUNSEL EYES

               ONLY Materials to anyone not set forth in paragraph 14 above or in this paragraph

               unless and until the Producing Party has agreed that the materials may be disclosed,

               or the Bankruptcy Court has so ruled.

               Any person not permitted to have access to Designated Material that is disclosed at

               a deposition will be excluded from the portion of the deposition relating to that

               information.

               Use of Designated Material in Court. Before disclosing Designated Material of

another Party in an open courtroom at trial or other court hearings, the Party seeking to use the

Designated Material must provide notice to the Designating Party so that the Designating Party or

Producing Party has a reasonable opportunity to take appropriate action to prevent or limit

disclosure of the Designated Material in the open courtroom, such as by asking for the courtroom

to be sealed or for the transcript or any demonstratives to be designated confidential. The Parties

agree that the use of Designated Material at trial or in other court hearings shall not constitute a

waiver of or operate in prejudice to any claim of confidentiality in the Designated Material.

               Filing Designated Material. All CONFIDENTIAL and/or OUTSIDE COUNSEL

EYES ONLY Materials filed in any court, and all portions of pleadings, motions, or other papers

filed with any court that disclose CONFIDENTIAL and OUTSIDE COUNSEL EYES ONLY

Material, shall be filed in redacted form in accordance with Rule 9018-1 of the Local Rules of the

United States Bankruptcy Court for the Southern District of New York , with all CONFIDENTIAL

and OUTSIDE COUNSEL EYES ONLY Materials redacted along with an unredacted copy filed

under seal with the Clerk of the Court and kept under seal until further order of the Bankruptcy

Court and provided to the Bankruptcy Court and all Parties entitled to receive such




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CONFIDENTIAL and OUTSIDE COUNSEL EYES ONLY Materials. If any person fails to

redact Designated Material, the Producing Party, Designating Party, or any Party claiming

confidentiality for the Material may request that the Court place the filing under seal pursuant to

Rule 9018-1 of the Local Rules of the United States Bankruptcy Court for the Southern District of

New York.

               Transmittal of Designated Material. OUTSIDE COUNSEL EYES ONLY Material

may only be transmitted or transported as set forth below:

               OUTSIDE COUNSEL EYES ONLY Material may only be transported: (i) by hand

               delivery; (ii) in sealed envelopes or containers via the mail or an established

               overnight, freight, delivery, or messenger service; or (iii) by telephone, facsimile,

               or other electronic transmission system, where, under the circumstances, there is no

               reasonable likelihood that the transmission will be intercepted or misused by any

               person who is not a qualified recipient. If OUTSIDE COUNSEL EYES ONLY

               Material is transported outside of the United States, it must remain under the

               continuous control of the Receiving Party and be returned to the United States as

               soon as is reasonably practicable.

               Unauthorized Use or Disclosure. If a Receiving Party learns of the disclosure or

use of Designated Material in any circumstance not authorized by this Protective Order, it must

promptly notify in writing the Designating Party of the unauthorized use or disclosure. In the

event of unauthorized disclosure, the Receiving Party must also promptly: (i) use its best efforts

to retrieve all copies of the Designated Material; (ii) inform the person to whom unauthorized

disclosures were made of the terms of this Protective Order; and (iii) ask that person to execute




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the “Acknowledgment and Agreement to Be Bound by Protective Order” that is attached as Exhibit

A.

                     PROCEDURE FOR DESIGNATING MATERIALS

               Designating Documents. For Discovery Material in documentary form (other than

transcripts or documents produced natively), the Designating Party must affix the legend

“CONFIDENTIAL” or “OUTSIDE COUNSEL EYES ONLY” on each page that contains

Designated Material.

               Designating Other Discovery Material. For non-documentary Discovery Material,

the Designating Party must affix in a prominent place on the exterior of the container or containers

in which the information or thing is stored the legend “CONFIDENTIAL” or “OUTSIDE

COUNSEL EYES ONLY.” For any documents produced natively, the file name may be modified

to indicate the appropriate designation.

               Testimony and Transcripts. For testimony given in deposition or in other pretrial

or trial proceedings, the Designating Party will specify any portions of the testimony that it wishes

to designate as “CONFIDENTIAL” or “OUTSIDE COUNSEL EYES ONLY.” In the case of

depositions, the Designating Party may also designate any portion of a deposition transcript by

informing the reporter and the Parties on the record or in writing of the applicable designations

within five (5) calendar days of completion of the certified transcript. The entire transcript of all

other depositions will be treated as OUTSIDE COUNSEL EYES ONLY until the five-day period

has expired. The court reporter must affix to the top of transcript pages identified by a Designating

Party the legend “CONFIDENTIAL” or “OUTSIDE COUNSEL EYES ONLY” as instructed by

the Designating Party. Subject to the Court’s preferences, the parties will work together to make

arrangements for making such designations to exhibits, testimony, and other Discovery Material

used during hearings, pretrial proceedings, and during the trial of this case.


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               Non-Party Designations.      A non-Party producing information or Discovery

Material voluntarily or pursuant to a subpoena or court order is intended to be a third-party

beneficiary of this Stipulation and may designate the information or Discovery Material in the

same manner as a Party under the terms of this Stipulation, as necessary to, inter alia, protect the

confidentiality of the CONFIDENTIAL and/or OUTSIDE COUNSEL EYES ONLY Materials it

produces; however, such designation shall not by itself entitle the non-Party producing such

information or Discovery Material to receive any Designated Material produced by other Parties.

               Challenges to Designations.        Any Party or non-Party may challenge a

confidentiality designation at any time according to the following procedures:

               Written Notice. The Designating Party shall use reasonable care when designating

               Discovery Material as CONFIDENTIAL and/or OUTSIDE COUNSEL EYES

               ONLY. Nothing in this Protective Order shall prevent a Receiving Party from

               contending that any Discovery Material has been improperly designated. If the

               Receiving Party disagrees with the designation of any Discovery Material, the

               Receiving Party may challenge such designation by providing the Designating

               Party with written notice of such challenge and by identifying the Discovery

               Material as specifically as possible. Subject to the Parties’ mutual desire to avoid

               unnecessary litigation over documents that may be immaterial, the challenge should

               be made as soon as is practicable following production. If the parties do not resolve

               the dispute within three (3) days of the Designating Party receiving written notice

               of the challenge, the Designating Party may seek a ruling from the Bankruptcy

               Court upholding the designation as valid.




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               Meet and Confer. A Party that elects to challenge a designation must do so in good

               faith and, in addition to the written notice, must confer directly (in voice-to-voice

               dialogue; other forms of communication are not sufficient) with counsel for the

               Designating Party. In conferring, the challenging Party must explain the basis for

               its belief that the confidentiality designation was not proper, must give the

               Designating Party an opportunity to review the Material challenged and to

               reconsider the circumstances, and, if no change in designation is offered, to explain

               the basis for the chosen designation. A Designating Party may file a motion to

               uphold the designation consistent with paragraph 27(a).

               Judicial Intervention. The burden of persuasion in any such challenge proceeding

               shall be on the Designating Party. Until the Bankruptcy Court rules on the

               challenge, all parties shall continue to afford the Discovery Material in question the

               level of protection to which it is entitled under the Designating Party’s designation.

                               INADVERTENT PRODUCTION

               Failure to Designate. A failure to designate confidential Discovery Material does

not waive a Designating Party’s right to secure protection under this Stipulation for that Discovery

Material. On discovery of a failure to designate, a Designating Party may give written notice of

the designation and provide substitute copies of the Discovery Material bearing the appropriate

legend. The Receiving Party must then treat the Discovery Material in accordance with the new

designation, retrieve and destroy all copies of the previously produced version of the Discovery

Material from anyone who had received it, and destroy any electronic copies of the previously

produced version.

               No Waiver of Privilege. Inadvertent production of Discovery Material will not

constitute a waiver of the attorney-client privilege or work product immunity or any other


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applicable privilege or immunity from discovery if, after becoming aware of a disclosure, the

Producing Party or Designating Party designates the Discovery Material as privileged or immune

from discovery. The Producing Party shall, at its cost, provide the Receiving Party with substitute

copies bearing the legend “CONFIDENTIAL” and/or “OUTSIDE COUNSEL EYES ONLY” with

any such Discovery Materials. Upon receiving notice of such designation in writing, the Receiving

Party shall destroy all copies of the identified Discovery Material, including copies distributed to

others (e.g., Outside Consultants and Professional Vendors). The Receiving Party will remain

entitled to challenge the privilege or immunity designation, but may not quote or otherwise use the

Discovery Material in support of any such challenge. The Producing Party shall retain the

identified Discovery Material for submission to the Bankruptcy Court in the event that the

Receiving Party challenges the privilege or immunity designation.

                                       MISCELLANEOUS

               Enforcement and Jurisdiction.          The Bankruptcy Court will have exclusive

jurisdiction to enforce this Stipulation against the Parties and any individuals who execute Exhibits

A and/or B to this Protective Order, even following the final disposition of this action. Every

individual who reviews Designated Material also agrees to be subject to the jurisdiction of the

Bankruptcy Court for the purpose of any proceedings related to the enforcement of this Protective

Order.

               Injunctive Relief.      Every individual who reviews Designated Material

acknowledges that a breach of this Protective Order may result in immediate and irreparable injury

for which there is no adequate remedy at law. A Party may immediately apply to obtain temporary,

preliminary, and permanent injunctive relief against a violation or threatened violation of this

Protective Order.




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               Final Disposition. Within sixty (60) days after the final disposition of the Chapter

15 Proceeding, each Receiving Party must destroy or return to the Producing Party all Designated

Material and submit a written confirmation of the return or destruction to the Producing Party (and,

if not the same person or entity, to the Designating Party). However, Counsel of Record are

entitled to retain one archival copy of all pleadings, motion papers and supporting materials,

transcripts, legal memoranda, correspondence, briefs and supporting materials, written discovery

requests and responses, exhibits offered or introduced into evidence at trial, or attorney work

product. Any such archival copies remain subject to this Protective Order. Emails stored on

Counsel of Record’s computers containing Designated Materials shall not constitute the permitted

one archival copy and therefore must be deleted within sixty (60) days after the final disposition

of this action. To the extent that any Receiving Party is a party to pending or threatened legal

proceedings which prevent the destruction of such documents, that Receiving Party will notify in

writing the Producing Party of the pending or threatened legal proceedings and the basis upon

which the documents are prevented from being destroyed. The Producing Party will then have

two (2) weeks to object in writing. If the Producing Party objects, the parties shall first meet and

confer in an effort to resolve the dispute. If the parties are unable to resolve the dispute, counsel

for either party shall, before filing any motion, arrange a conference call with the Bankruptcy Court

with all counsel involved in the dispute. The Bankruptcy Court will endeavor to resolve the dispute

without the filing of any motions. If the Producing Party does not object, or if the dispute is

ultimately resolved in the Receiving Party’s favor, the time for the Receiving Party to return or

destroy such documents shall be tolled until the conclusion of such legal proceedings. For

avoidance of doubt, notwithstanding any other provisions herein, this paragraph applies to

“CONFIDENTIAL” and/or “OUTSIDE COUNSEL EYES ONLY” Discovery Material only, and




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does not require that counsel for the Parties destroy work product, correspondence, expert reports,

or court filings.

                Duration. The Parties agree to be bound by the terms of this Stipulation pending

the entry of this Stipulation by the Bankruptcy Court, and any violation of its terms shall be subject

to the same sanctions and penalties as if this Stipulation has been entered by the Bankruptcy Court.

The confidentiality obligations imposed by this Protective Order will remain in effect even after

the final disposition of this action, until and unless otherwise agreed to by the Designating Party

or ordered by the Bankruptcy Court.

                Further Protections. This Protective Order is entered without prejudice to the right

of any party to apply to the Bankruptcy Court at any time for additional protection or to relax or

rescind the restrictions of this Protective Order.

                Subpoenas in Other Litigation or Proceedings. If a Receiving Party is served with

a subpoena or a court order that would compel disclosure of any Designated Material, it must so

notify the Producing Party (and, if not the same person or entity, the Designating Party), in writing

(by hand delivery, fax, or email) promptly and in no event more than ten (10) days after receiving

the subpoena or order. The notice must include a copy of the subpoena or order. The Receiving

Party also must promptly inform in writing the party who caused the subpoena or order to issue

that some or all of the requested material is subject to this Protective Order. If, in the absence of

a protective order or other remedy or the receipt of a waiver by the Producing Party, a Receiving

Party is nonetheless legally compelled by order of a court of competent jurisdiction to disclose

such CONFIDENTIAL and/or OUTSIDE COUNSEL EYES ONLY Materials or else stand liable

for contempt or suffer other sanction or penalty, the Receiving Party may, without liability under

this Stipulation, disclose only that portion of the CONFIDENTIAL and/or OUTSIDE COUNSEL




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EYES ONLY Materials which its counsel advises it is legally required to disclose, provided that

the Receiving Party exercises its commercially reasonable efforts to preserve the confidentiality

of the CONFIDENTIAL and/or OUTSIDE COUNSEL EYES ONLY Material, including, without

limitation, by taking commercially reasonable measures to cooperate with the Producing Party to

obtain an appropriate protective order or other reliable assurance that confidential treatment will

be accorded the CONFIDENTIAL and/or OUTSIDE COUNSEL EYES ONLY Materials by the

party to whom such material will be produced, and then only with as much prior written notice to

the Producing Party as is practical under the circumstances. In no event will a Receiving Party

oppose action by a Producing Party to obtain a protective order or other relief to prevent the

disclosure of the CONFIDENTIAL and/or OUTSIDE COUNSEL EYES ONLY Materials or to

obtain reliable assurance that confidential treatment will be afforded the CONFIDENTIAL and/or

OUTSIDE COUNSEL EYES ONLY Materials.

               Other Proceedings.      By entering this order and limiting the disclosure of

information in this case, the Bankruptcy Court does not intend to preclude another court from

finding that information may be relevant and subject to disclosure in another case. Any person or

party subject to this order who becomes subject to a motion to disclose another party’s information

designated as confidential pursuant to this Protective Order shall promptly notify that party of the

motion so that the party may have an opportunity to appear and be heard on whether that

information should be disclosed.

               Counterparts. This Stipulation may be executed in one or more counterparts,

including facsimile or electronic counterparts, all of which together shall constitute one and the

same instrument.

                            [Remainder of page intentionally left blank]




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IT IS SO STIPULATED.

Dated: July __, 2019.




CLEARY GOTTLIEB STEEN &                       DUANE MORRIS LLP
HAMILTON LLP

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         JRosenthal@cgsh.com                  Malcolm Cohen in their capacity as Joint
          LSchweitzer@cgsh.com                Administrators and Foreign Representatives
                                              for the Debtor BSG Resources Limited (in
Counsel for Vale, S.A.                        administration)




SO ORDERED this _________ day of _____________________________, 2019.


                                               Hon. Sean H. Lane
                                               United States Bankruptcy Judge




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                                            Exhibit A

                        ACKNOWLEDGMENT AND AGREEMENT
                        TO BE BOUND BY PROTECTIVE ORDER

       I, ______________________________________, state:

       1.      I reside at ________________________________________________.

       2.      My present employer is _____________________________________.

       3.      My present occupation or job description is _____________________.

       4.      I have read the Protective Order (“Order”) in the matter of In re BSG Resources

Limited (in administration), Bankruptcy Case No. 19-11845 (SHL) S.D.N.Y. and understand and

will abide by its terms. I will not divulge any Designated Material to persons other than those

specifically authorized by the Order. I will not use any Designated Material in any manner not

expressly allowed by the Order.

       5.      I agree to be subject to the authority of the United States Bankruptcy Court for the

Southern District of New York in the event of any dispute related to this agreement.

       6.      I state under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Executed on __________________, 2019.




Signature




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